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Android Developers Blog: Nexus One Developer Phone                                                         http://android-developers.blogspot.com/2010/08/nexus-one-developer-phone html
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         Nexus One Developer Phone
         Posted by Tim Bray on 05 August 2010 at 7:00 AM

         We've always offered unlocked phones for direct sale to registered Android Developers. As of today, the Developer Phone is the Nexus One, at a price of
         $529. To see the details or order a phone, you need to sign in to your Android developer account and click on the "Development Phones" link.

         The Nexus One combines an up-to-the-minute platform (Android 2.2), modern hardware, and the pure Android software suite. It's a good choice both for
         people who want to build Android applications using either the SDK or the NDK, and those who want to experiment with modified versions of the Android
         platform. Note that the Nexus One still ships with Android 2.1 but will download 2.2 soon after you turn it on; make sure you’re near a fast network.

         As well as being an outstanding developer platform, it's a really nice everyday phone; we're really happy to have connected the right dots to make this
         happen.

         [Update]: A bunch of people have spoken up wondering about Nexus One accessories. They are available right now in HTC's European online store. When
         we get more news, we'll pass it along.

         [Update, Aug 6th]: The HTC US store now has accessories too.


         T R AC K B AC K S

             Nexus One Rises from the Ashes… As a Dev Phone
             This week on Twitter [August 15, 2010]
             Google's Nexus One Lives on as Developer Device
             Java Posse #319 - Newscast for Aug 12th 2010
             Nexus One: realment, no ha anat bé – www.imatica.org – Edició ...
             Nexus One: realmente, no ha ido bien
             Nexus One respun as Android Developer Phone -- Linux,C,C++,Java ...
             Google selling unlocked Nexus One phones to Android developers
             Nexus One is Google's new Developer Phone | Blackhacker
             Aberto até de Madrugada: Notícias do Dia
             Nexus One Knocks G1 Off of Google's Developer Perch
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